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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

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 In re:                                                     Case No.: 18-15691 (CMG)
 American Center for Civil Justice, Inc.,                   Chapter:    11
                                                            Judge:      Christine M. Gravelle
                               Debtor.


    JOINDER OF MICHAEL ENGELBERG IN MOTION OF DIANA CAMPUZANO,
    ET AL., FOR AN ORDER DISALLOWING, EXPUNGING, REDUCING AND/OR
    MODIFYING THE CLAIM OF THE AMERICAN CENTER FOR CIVIL JUSTICE,
                 RELIGIOUS LIBERTY AND TOLERANCE, INC.

 TO:      THE HONORABLE CHRISTINE M. GRAVELLE
          UNITED STATES BANKRUPTCY JUDGE

          Michael Engelberg, by and through his undersigned counsel, hereby joins in the motion

 (Dkt. No. 79) of Diana Campuzano, Avi Elishis and Gregg Salzman for an order disallowing,

 expunging, reducing and/or modifying the claim of The American Center For Civil Justice,

 Religious Liberty And Tolerance, Inc. (the “Motion”), and in support thereof, respectfully states:



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        1.      The Debtor (“ACCJ”) has scheduled, as uncontested, a claim of The American

 Center For Civil Justice, Religious Liberty And Tolerance, Inc. (“ACCJ-RTLI” or “New Jersey

 Center”) in the amount of approximately $14.8 million. Dkt. No. 46, p. 6, at Sch. F, item 3.1.

        2.      The circumstances giving rise to this claim have been among the issues in a hotly-

 contested litigation in the New York State Supreme Court, Nassau County, captioned Engelberg

 v. Perr, Index Number 606919/2014. This case is described in Dkt. No. 58, the Joinder of

 Michael Engelberg in Motion of Diana Campuzano, et al., to Appoint a Chapter 11 Trustee.

        3.      Dr. Engelberg’s position, in Engelberg v. Perr, is that the New Jersey Center (run

 by Jed Perr) is an alter ego of the Debtor (whose President, Eli Perr, is Jed Perr’s father), and that

 the alleged debt of the Debtor to its alter ego is based on a phony contract and is fraudulent. In

 his decision dated November 30, 2017, denying the New Jersey Center’s motion to dismiss Dr.

 Engelberg’s complaint against it, on the basis of ample documentary evidence placed before him,

 Justice Stephen A. Bucaria characterized the purported 2007 Agreement between the Debtor and

 the New Jersey Center as “infected by fraud” (at page 6). See Dkt. No. 58 at ¶ 7, referring to that

 decision, which has been filed as Dkt. No. 43-11 (Exh. I to motion for Ch. 11 Trustee).

        4.      However, as this Court is also aware, all claims in that litigation have been

 settled, subject to certain conditions, pursuant to a Stipulation of Settlement, and the Debtor has

 moved this Court for an order authorizing it to assume that agreement (Dkt. No. 66). Among

 other terms of settlement, the Debtor and the New Jersey Center agreed to merge (into the

 Debtor) and appoint a new, independent Board of Directors.

        5.      Should the settlement be approved and implemented, any inter-party debts of

 these entities would be erased and folded into merged assets and liabilities. On the other hand,

 should the settlement not be approved, or should the merger, for any other reason, fail, then



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 certain claims at issue in Engelberg v. Perr would have to proceed to decision – including,

 importantly, Dr. Engelberg’s well-founded claim that the contract upon which the New Jersey

 Center’s claim in this bankruptcy case is founded was created as a cover-up, was backdated and

 is fraudulent.

        6.        These circumstances were amply documented in Dr. Engelberg’s opposition to

 the New Jersey Center’s motion to dismiss in Engelberg v. Perr. We respectfully refer the Court

 to Dr. Engelberg’s memorandum of law filed in that case on August 30, 2017 (“MOL”), a copy

 of which is already in the record of this proceeding (Dkt. No. 58-3). The documentary evidence,

 as filed with the Nassau County court, is accessible on-line. 1 In order not to unduly burden the

 record of this proceeding, we will only submit herewith a few key items of evidence. The

 motion record showed that:

             a) To the extent Jed Perr was acting on behalf of the New Jersey Center, he
                largely concealed that role, while holding himself out, in letters on the
                Debtor ACCJ’s letterhead, e-mails using an ACCJ domain name, and in
                agreements, as a de facto officer or key employee of ACCJ. See MOL at
                4-6, 12. Moreover, in 2014 he attempted to confuse claimants regarding
                which entity they were dealing with, by asking certain claimants (the
                Brewer and Valencia groups) to sign a “revised” Claimant and Center
                Agreement that identified the entity party as “The American Center for
                Civil Justice, Inc., a corporation incorporated in the State of New Jersey.”
                There is no such corporation. This was obviously a deceptive practice
                intended to “palm off” the New Jersey Center (ACCJ-RLTI) as the Debtor
                (ACCJ), whereby the New Jersey Center could, in essence, steal a
                corporate opportunity of the Debtor. See Amended Verified Derivative
                Complaint filed March 31, 2017 in Engelberg v. Perr, previously filed in
                this proceeding as Dkt. No. 33-2, at ¶¶ 189-190, and Exhibit 35 thereto
                (agreement sent by Jed Perr to Brewer plaintiffs in May 2014). 2



 1
  https://iapps.courts.state.ny.us/webcivil/FCASMain, Index Search 606919/2014, document
 numbers 370 and following.
 2
  An additional fraud alleged by Dr. Engelberg in that case is that, in 2014, the Debtor and the
 New Jersey Center attempted to rewrite the financial terms of the arrangement with claimants, by


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            b) In 2009, four checks in the total amount of $2,010,000, made out to ACCJ
               by members of the Collett family based on their collection of $10 million
               from Libya, were never deposited to ACCJ’s account, but instead were, in
               essence, handed over to Jed Perr and deposited to the New Jersey Center’s
               accounts and reported as New Jersey Center revenue on its tax returns.
               MOL at 6-7. The Collett documents, filed in Engelberg v. Perr as
               NYSCEF Doc. No. 375, are submitted herewith as Exhibit A.

            c) Similarly, in late 2009/early 2010, three checks drawn to the order of ACCJ
               by another Libya claimant, Sam Israel Fischel, were also never deposited to
               the accounts of ACCJ, but instead were taken into possession by Jed Perr
               and deposited to the accounts of the New Jersey Center and declared as its
               revenue on its tax returns. MOL at 7-8. The Fischel documents, filed in
               Engelberg v. Perr as NYSCEF Doc. Nos. 382, 394, 395, 396, 397, and 408,
               are submitted herewith, together, as Exhibit B.

               The income from the Collett and Fischel recoveries is reflected in the 2009
               tax return of the New Jersey Center (Engelberg v. Perr Doc. No. 376,
               Exhibit C herewith) and does not appear in the 2009 tax return of the
               Debtor (Engelberg v. Perr Doc. No. 385, Exhibit D herewith). This
               income is also reflected in the “accounting” materials filed by the New
               Jersey Center in Engelberg v. Perr. Docket number 59-3, previously filed
               in this case, is a ledger showing activity in the New Jersey Center’s
               accounts. (This was filed in Engelberg v. Perr under cover of an
               affirmation of its counsel, which is in the record at Dkt. No. 64-12.) While
               this ledger is lacking in many respects, the figures and notations make clear
               that the Collett and Fischel monies were deposited to the New Jersey
               Center’s accounts.

            d) A third illicit diversion of funds occurred starting in 2011, following a
               July 15, 2011 e-mail from Jed Perr to the DLA Piper law firm, in which
               (quoting Justice Bucaria’s decision) Jed “falsely stated that the New Jersey
               Center’s tax ID number was the tax ID number for ACCJ.” Order entered
               November 30, 2017, at p. 6 (Dkt. No. 43-11). See Exhibit E herewith
               (copy of this e-mail as retrieved from Dr. Engelberg’s files.) Thereafter,
               the New Jersey Center received directly from DLA Piper approximately
               $1.6 million, representing ACCJ’s share in collections effected by DLA
               Piper on behalf of ACCJ claimants. These monies were also reported as
               New Jersey Center revenue. See MOL at 8-10.

            e) The known documents and factual circumstances strongly indicate that the
               2007 Agreement did not exist prior to 2013, but instead was created in
               2013 and backdated in order to facilitate an explanation to the IRS


 asking claimants to agree to an increase in the fee owed, from 20% of any recovery, to 36%. See
 Amended Verified Derivative Complaint at ¶¶ 162-164, 182-190, 213-214.


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                concerning how ACCJ revenues wound up in the coffers of the New Jersey
                Center. Not a single document has been produced in the Nassau County
                litigations that refers to the agreement at any time prior to 2013, when the
                agreement and related board minutes, both purportedly dated in April 2007,
                first surfaced in connection with the IRS audit. See MOL at 13-16.

             f) Although minutes of an ACCJ board meeting held in September 2013 state
                that Neal Sher described a relationship between ACCJ and ACCJ-RLT, “a
                New Jersey not-for-profit,” concerning collections, and that the two entities
                entered an agreement in 2007, the Debtor’s Board cannot properly be said
                to have ratified the agreement. The minutes do not reflect that the board
                was informed of Jed Perr’s involvement, or of the diversion or transfer of
                millions of dollars from ACCJ to the New Jersey Center, or of other
                material information. Accordingly, there could be no legally significant
                ratification. Ironically, the minutes indicate that Mr. Sher recommended
                that ACCJ “absorb NJ Center’s operations, agreements and staff along with
                its current very substantial assets” – i.e., a merger. (Emphasis added). The
                minutes do not reveal that the New Jersey Center had no assets other than
                those illicitly diverted to it from ACCJ. MOL at 16-18.

        7.      In view of the issues litigated in Engelberg v. Perr, and the fact that the settlement

 has not yet been approved, the Debtor’s decision to list the New Jersey Center’s claim as

 “undisputed” is inconsistent with the settlement of that dispute. Listing the claim as undisputed

 allows father Eli and son Jed to finesse approval of the claim without a proper showing of its

 validity. Indeed, should the agreed settlement fail, and the merger not take place, the New Jersey

 Center (and Jed Perr) would be in a position to walk away with millions of dollars. This would

 be to the severe detriment of the Debtor’s other creditors.

        8.      The New Jersey Center should be required, as any other creditor, to file and prove

 its claim. This is entirely appropriate for a claim in excess of $14 million, and in view of the

 history of litigation over this very claim and the terms of settlement. If it turns out that the claim

 need not be proved, due to consummation of the settlement and a merger of the two entities,

 nothing will be lost.




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        9.      By reason of the foregoing, Dr. Engelberg joins in the Motion, with the caveat

 that he has no objection to the New Jersey Center’s filing a Proof of Claim, subject to proof.

 Dated: July 24, 2018                                 LAW OFFICES OF
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